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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
                                            :
v.                                          :          Case No. 1:22-cr-00413-CKK-1
                                            :
                                            :
DOMINIC BOX,                                :
                                            :
               Defendant.                   :

                   DEFENDANT BOX’S NOTICE OF FILING EXHIBITS
                      PURSUANT TO LOCAL CRIMINAL RULE 49

       Dominic Box, by and through undersigned counsel, hereby gives notice, pursuant to Local

Criminal Rule 49, that the Court and the government received via Box.com three (3) video exhibits

for Mr. Box’s Motion to Dismiss Count One of the Indictment.

       The respective video exhibits are as follows:

       1.       Exhibit E is a clip from a video recorded by Mr. Box as a Facebook Live for the

Savannah Freedom Exchange that he later voluntarily produced to the government. The clip

depicts Mr. Box and another individual speaking as they approach the U.S. Capitol’s grounds. The

clip is nine (9) seconds in duration.

       2.      Exhibit F is a different clip from the above-mentioned video. The clip depicts Mr.

Box responding to an individual who commented on Mr. Box’s Facebook Live while Mr. Box was

momentarily reading some of the comments posted to the Live. The clip is twenty-three (23)

seconds in duration.

       3.      Exhibit G is another clip from the above-mentioned video. The clip depicts Mr. Box

responding to an individual who commented on Mr. Box’s Facebook Live while Mr. Box was
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momentarily reading some of the comments posted to the Live. The clip is eleven (11) seconds in

duration.



                                                   Respectfully submitted,

                                                   _________/s/_______________
                                                   Amy C. Collins
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 23rd day of May 2024, I caused a true and correct copy

of the foregoing Notice to be delivered via CM/ECF to all parties.


                                                    _________/s/_______________
                                                    Amy C. Collins




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